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 1   LAW OFFICES OF CHRIS COSCA
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 3   (916) 440-1010
 4   Attorney for Defendant
     JOHN ALLEN LEE
 5

 6                               UNITED STATES DISTRICT COURT
 7                  IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,                      )   Case No.: 2:08-CR-324 GEB
                                                    )
10                  Plaintiff,                      )   STIPULATION AND ORDER TO
                                                    )   CONTINUE STATUS CONFERENCE
11          vs.                                     )
                                                    )   DATE:  February 19, 2010
12   JOHN ALLEN LEE                                 )   TIME:  9:00 a.m.
                                                    )   JUDGE: Hon. Garland E. Burrell, Jr.
13                  Defendant.                      )
                                                    )
14

15                                              Stipulation
16          The parties, through their undersigned counsel, stipulate that the status conference
17   scheduled for February 19, 2010 be continued to March 26, 2010. Additional time is necessary
18   for counsel to review and analyze discovery, conduct investigation and obtain documents
19   relating to defendant’s history. The parties also agree that time may be excluded from the speedy
20   trial calculation under the Speedy Trial Act for counsel preparation, pursuant to 18 U.S.C. §
21   3161 (h) (7) (B) (iv) and Local Code T4.
22   ///
23   ///
24   ///
25




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 1          The prosecutor has authorized defense counsel to sign this stipulation on his behalf.
 2

 3   DATED: February 18, 2010                     by       /s/ Chris Cosca
                                                           Chris Cosca
 4                                                         Attorney for Defendant
                                                           JOHN ALLEN LEE
 5

 6
     DATED: February 18, 2010                     by       /s/ Chris Cosca for_____________________
 7
                                                           William S. Wong
 8
                                                           Assistant U. S. Attorney

 9
                                                  Order

10
            Good cause appearing,

11
            The status conference scheduled for February 19, 2010 is continued to March 26, 2010 at

12
     9:00 a.m.

13
            Time is excluded from the speedy trial calculation pursuant to 18 U.S.C. § 3161 (h) (7)

14
     (B) (iv) and Local Code T4 for counsel preparation.

15

16
            IT IS SO ORDERED.

17

18
     DATED: 2/22/10
                                           GARLAND E. BURRELL, JR.
19                                         United States District Judge

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